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      Transcription of Notes of Associate Deputy Attorney General James Crowell
                                     Dated 3/6/2017
                                  Document ECF 251-1

[REDACTED]                             Jim
                                       C.
                                       [3/6/3017]

                                       FBI/McCabe/Baker/
                                       Rybicki/Pete/Toscas
                                       Scott/Tash/McCord
                                       Dana/

[Remainder of page REDACTED]
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2/

      *     Flynn case was on path to closure until
            Kislyak conversation
      *→    false statement              & Logan Act both
            likely to be declined

[Remainder of page REDACTED]
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      Transcription of Notes of Associate Deputy Attorney General Tashina Gauhar
                                     Dated 3/29/2017
                                  Document ECF 251-1




             Close-Hold
3/29/17      - Case update

[Remainder of page REDACTED]
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[REDACTED]




FLYNN-
      SF86 + security Materials
       wait + see approach to determine if
       need to interview

             -   No longer looking for collusion
             -   Logan Act ) 2 things
                 FARA       )


[Remainder of page REDACTED]
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        Trasncription of Notes ofAssociate Deputy Attorney General Scott Schools
                                     Dated 1/19/2018
                                  Document ECF 251-1




1/19/18                                          (2)
Flynn-
         In ofc today, re-interviewing re Team
600 issue. Have Brady order from J.
Sullivan. Probably refer.
         - Still being interviewed
         - Bad memory doesn’t remember small
details. How useful he will be is a
big issue.

[remainder of page REDACTED]
